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6                                UNITED STATES DISTRICT COURT
7                    WESTERN DISTRICT OF WASHINGTON, AT SEATTLE
8                                                 *****
9    BOARD OF TRUSTEES OF THE                             CASE NO.: 2:19-cv-1930
     EMPLOYEE PAINTERS’ TRUST,
10
                            Plaintiff,                    COMPLAINT
11   vs.
12   WRIGHTWAY MECHANICAL, LLC, an Idaho
     limited liability company; STEVEN WRIGHT,
13   an individual; WESTERN SURETY
     COMPANY, a South Dakota corporation; DOES
14   & ROES I-X,
15                          Defendants.
16
               The Plaintiffs, BOARD OF TRUSTEES OF THE EMPLOYEE PAINTERS’ TRUST
17
     (“Plaintiff”), by and through its counsel, Christensen James & Martin and The Urban Law Firm,
18
     complain and allege as follows:
19
                                         JURISDICTION AND VENUE
20
               1.   This Court has jurisdiction of this case pursuant to Section 502(e)(1) of the
21
     Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §
22
     1132(e)(1), which grants the United States District Courts exclusive jurisdiction over civil actions
23
     brought by a fiduciary pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3), to redress
24
     violations or enforce the terms of ERISA or an employee benefit plan governed by ERISA. Such
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      COMPLAINT                                                                          CHRISTENSEN JAMES & MARTIN
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1    jurisdiction exists without respect to the amount in controversy or the citizenship of the parties,

2    as provided in Section 502(f) of ERISA, 29 U.S.C. § 1132(f).

3              2.     This court has jurisdiction of this case pursuant to Section 301(a) of the Labor

4    Management Relations Act of 1947, as amended (“LMRA”), 29 U.S.C. § 185(a), which grants

5    the United States District Courts original jurisdiction over suits for violation of contracts between

6    an employer and labor organization in an industry affecting commerce, without respect to the

7    amount in controversy or the citizenship of the parties.

8              3.     Venue is proper in this Court pursuant to Section 502(e)(2) of ERISA, 29 U.S.C.
9    § 1132(e)(2), and Section 301(a) of the LMRA, 29 U.S.C. § 185(a), in that this is the Judicial
10   District in which the Trust is administered, the signatory labor organization maintains its office,
11   where the relevant acts took place, and where the contractual obligation is to be paid.
12             4.     To the extent this Complaint sets forth any state law claims, this Court has
13   supplemental jurisdiction over those claims pursuant to 28 U.S.C. § 1367(a).
14                            PARTIES AND GENERAL ALLEGATIONS

15                  5. The EMPLOYEE PAINTERS’ TRUST is an express trust created pursuant to a

16   formal written declaration of trust (“Trust Agreements”) between various unions, including the

17   International Union of Painters and Allied Trades District Council No. 5 and its associated Locals

18   (“Union”), and various multiemployer associations.

19                  6. The Trust exists for the specific purpose of providing employee benefits to

20   participants under a “multiemployer plan,” “employee benefit plan,” “employee benefit pension

21   plan,” and/or “employee welfare benefit plan,” as the case may be, within the meaning of ERISA,

22   29 U.S.C. § 1002.

23                  7. The Board of Trustees and the individual Trustees of the Trust are “named

24   fiduciar[ies],” “plan administrator” and “plan sponsor” and each is an individual “fiduciary,”

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1    within the meaning of 29 U.S.C. §§1102(a), 1002(16) and (21), with respect to collection of

2    contributions due to the Trust Fund and related matters.

3                   8. This Trust was created and now exists pursuant to Section 302(c) of the LMRA,

4    29 U.S.C. § 186(c), and is administered in Seattle, Washington.

5                   9. At all times material herein, the Union has been a labor organization representing

6    employees in the construction industry in Washington, Oregon, Alaska, Utah and Northern Idaho.

7    The Union represents employees in an industry affecting commerce within the meaning of Section

8    301(a) of the LMRA, 29 U.S.C. § 185(a).
9                   10.       Defendant    WRIGHTWAY           MECHANICAL,                 LLC         (“Wrightway
10   Mechanical”) is an Idaho limited liability company authorized and registered to do business in
11   the State of Washington and identified by Washington UBI Number 603 439 207. Wrightway
12   Mechanical holds a glazing/glass specialty Washington State Contractors License No.
13   FACADT*837MQ.
14                  11.       Defendant STEVEN WRIGHT (“Wright”) is an individual residing in the
15   State of Idaho, but avails himself of the laws of the State of Washington by operating Wrightway
16   Mechanical as a contractor in the State of Washington.
17                  12.       The true names and capacities, whether partnership, individual, corporate,
18   company, associate or otherwise of John Does I-X, inclusive, and Roe Corporations I-X,

19   inclusive, are unknown to the Plaintiffs at this time and said Defendants are therefore sued by

20   fictitious names. The Plaintiffs reserve the right to amend the Complaint to insert additional

21   charging allegations, together with the true identities and capacities, when the same have been

22   ascertained.

23                  13.       At all times material herein, Wrightway Mechanical has been party and

24   signatory to collective bargaining agreements with the Sheet Metal, Air, Rail and Transportation

25


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1    Workers, Local Union 55. This CBA requires Wrightway to contribute to the Trust for its covered

2    employees for the purpose of providing health insurance.

3                14.       Each of Wrightway Mechanical’s applicable CBAs were signed by Wright.

4                15.       At all times material herein, Wrightway Mechanical has been obligated by

5    the terms of the CBAs to submit monthly reports to the Plaintiff showing the hours worked by its

6    employees performing work covered under the CBA.

7                16.       At all times material herein, Wrightway Mechanical has been obligated by

8    the terms of the CBA to properly pay to the Plaintiff fringe benefit contributions, benefits, dues
9    and/or withholdings, on a monthly basis and at specified rates for each hour worked by or paid to
10   the employees for covered labor performed by the employees.
11               17.       Wrightway Mechanical also agreed to be bound by the terms and
12   provisions of the Trust Agreement that created the Trust. The Trust is a named and intended third-
13   party beneficiaries of the CBA.
14               18.       Wrightway Mechanical is an “employer” as that term is understood and
15   defined in the CBA and is an “employer” as that term is used in Section 3(5) of ERISA, 29 U.S.C.
16   § 1002(5), and therefore, Wrightway Mechanical is “obligated to make contributions to a
17   multiemployer plan” within the meaning of Section 515 of ERISA, 29 U.S.C. § 1145.
18               19.       Wrightway Mechanical is an “employer” engaged in “commerce” in an

19   “industry affecting commerce,” as those terms are defined and used in Sections 501(1) and 501(3)

20   of the LMRA, 29 U.S.C. § 142(1) and (3), and within the meaning and use of Section 301(a) of

21   the LMRA, 29 U.S.C. § 185(a).

22               20.       By signing the CBA, Wrightway Mechanical agreed that the terms and

23   conditions of the CBA would be extended to its covered employees. Thus, coverage of the CBA

24   is defined by job classification and type of work performed.

25


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1                 21.        All employees of Wrightway Mechanical are covered by the CBA if they

2    perform covered work, regardless of the employee’s personal affiliation or non-affiliation with

3    any union.

4                 22.       Defendant Wright is an owner, officer, director, and governor of

5    Wrightway Mechanical.

6                                     FIRST CAUSE OF ACTION

7     [Breach of Written Labor Agreement & Related Trust Agreements – Wrightway Mechanical]

8                 23.       The Plaintiff herein restates and realleges the above allegations as if fully
9    set forth verbatim.
10                24.       By the terms of the CBAs and the Trust Agreement, Wrightway
11   Mechanical was required to remit reports and fringe benefit contributions, benefits, dues and/or
12   withholdings to the Plaintiff for each hour of covered labor performed by its employees. These
13   reports were to be filed monthly with the Trust Fund.
14                25.       Wrightway Mechanical is contractually delinquent because it failed to pay
15   fringe benefit contributions for its reported covered labor.
16                26.       Wrightway Mechanical’s failure to pay fringe benefit contributions is a
17   breach of the CBA and the Trust Agreements.
18                27.       Pursuant to the CBA and the Trust Agreement, Wrightway Mechanical

19   agreed that in the event of any delinquency, Wrightway Mechanical would pay, in addition to the

20   delinquent fringe benefit contributions, benefits, dues and/or withholdings, i) interest thereon at

21   the rates established under the applicable collective bargaining or trust agreement, or at the legal

22   rate, whichever is greater; ii) liquidated damages thereon in an amount set by the applicable

23   collective bargaining agreement, trust agreement, or as otherwise provided or by law; and iii) all

24   legal and auditing costs in connection therewith, whether incurred before or after litigation is

25   commenced.


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1                28.        Wrightway Mechanical submitted reports to the Trust Funds for August

2    and September 2019 work months showing hours worked by its employees but did not remit

3    payment with those reports. Those reports remain unpaid.

4                29.        It has been necessary for the Plaintiffs to engage the law firms of

5    Christensen James & Martin and The Urban Law Firm to enforce the contractual obligations owed

6    to the Plaintiffs and collect any and all amounts due.

7                30.        Pursuant to the CBA and the Trust Agreement, Wrightway Mechanical

8    owes the Plaintiff fringe benefit contributions, benefits, dues and/or withholdings calculated or
9    measured by all hours of covered labor performed by their employees, plus interest at the
10   contractual rate on all unpaid contributions from the dates the sums were originally due to the
11   Plaintiff to the date of judgment, liquidated damages, reasonable attorney’s fees, court costs, and
12   auditing costs incurred by the Plaintiff as a result of the breaches described herein.
13               31.        Wrightway Mechanical submitted its May through August 2019 reports to
14   the Trust without payment. Its report for September 2019 has not been submitted at all. The total
15   amount owed for contributions is currently $7,979.28. Liquidated damages and interest are also
16   accruing on this amount.
17               32.        In addition to the amounts above, Wrightway Mechanical is also liable to
18   the Trust under the CBA, Trust Agreement, and 29 U.S.C. 1132(g)(2) for the Plaintiffs’ attorney’s

19   fees and costs incurred, liquidated damages for the unpaid reports that continue to accrue, and

20   interest for the unpaid August and September reports that continues to accrue.

21               33.        Upon entry of judgment, the Plaintiffs are entitled to post-judgment interest

22   at the highest rate allowed by law. The amount of such interest will be established by proof at

23   trial or through dispositive motion.

24   ///

25   ///


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1                                     SECOND CAUSE OF ACTION

2                              [Violation of ERISA - Wrightway Mechanical]

3                34.         The Trust herein restates and realleges the above allegations as if fully set

4    forth verbatim.

5                35.         By failing to report and pay contributions to the Plaintiff in accordance

6    with the CBA and Trust Agreement, Defendants have violated ERISA [29 U.S.C. § 1145]. In

7    accordance with the terms of the Labor Agreement and Trust Agreement, and pursuant to Sections

8    502(g)(2) and 515 of ERISA [29 U.S.C. §§1132(g)(2) and 1145], the Plaintiff is entitled to
9    payment of all contributions determined to be due, as well as liquidated damages, interest,
10   attorneys’ fees, costs incurred in enforcing the terms of the CBA and Trust Agreement, and such
11   other legal and equitable relief as the Court deems appropriate.
12               36.         The contract breaches and violations of ERISA identified above harm the
13   Plaintiff and place at risk the Plaintiff’s ability to provide required employee benefits to its
14   beneficiaries.
15               37.         The Plaintiffs are entitled to all remedies provided by ERISA as and for
16   compensation for the Defendants’ violations.
17                                     THIRD CAUSE OF ACTION

18                     [Breach of Written Trust Agreements – Wright and Does & Roes]

19               38.         The Trust herein restates and realleges the above allegations as if fully set

20   forth verbatim.

21               39.         The CBA incorporates the terms of the Trust Agreement governing the

22   Trust.

23               40.         The Trust Agreement for the Employee Painters’ Trust contains an express

24   provision imposing personal liability for unpaid contributions and related damages on the

25   President, Treasurer, or other corporate officer of the employer responsible for payment of


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1    contributions for an employer required to make such contributions.

2                41.       At all times material herein, Defendants Wright and Does and Roes, as

3    Wrightway Mechanical’s corporate officers responsible for making payment of contributions to

4    the Plaintiffs, became personally and individually bound and liable to the Employee Painters’

5    Trust pursuant to the express terms of the Trust Agreement governing the Trust, for the

6    contributions and related damages owed to those trust funds by Wrightway Mechanical.

7                                   FOURTH CAUSE OF ACTION

8          [Demand for Payment from Contractor’s License Bond- Western Surety Company]
9                 42.      The Trust restates and realleges the above allegations as if fully set forth
10   herein.
11                43.      RCW 18.27.040 requires each contractor in this state to obtain a bond
12   upon being licensed or provide another undertaking equivalent to a bond.
13                44.      Employees and laborers of a contractor are parties protected by the bond.
14                45.      The protection extends not only to wages but also to employee benefits
15   owed to employees or laborers.
16                46.      The Trust is entitled to payment from Wrightway for the unpaid benefit
17   contributions known for the months Wrightway reported without payment and for the unknown
18   amounts for months for which Wrightway has not reported to the Trust.

19                47.      Western Surety Company stands in the place of Wrightway and is a

20   guarantor for the payment of fringe benefit contributions to the Trust.

21                48.      Therefore, Western Surety Company is liable to the Trust to the same

22   extent as is Wrighway.

23                49.      The only limitation to Western Surety Company’s liability is that its

24   liability may not be greater than the penal sum of the bond issued, which is Bond No.

25   62579457.


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1                   50.       The Trust’s demand upon Western Surety Company is for all

2    contributions, liquidated damages, interest, and attorney’s fees and costs incurred in connection

3    with Wrightway’s delinquency.

4                                          PRAYER FOR RELIEF

5              WHEREFORE, the Plaintiff prays for Judgment against Defendants, and each of them, as

6    follows:

7                         1. For the Court’s Order compelling Defendants to abide by the terms of the

8                 Labor Agreement;
9                         2. For damages for breach of contract in an amount to be proven at trial;
10                        3. For unpaid fringe benefit contributions in amounts to be proven at trial;
11                        4. For liquidated damages in an amount to be proven at trial;
12                        5. For accrued interest on all unpaid contributions and damages from their
13                due dates until paid;
14                        6. For the Plaintiffs’ reasonable attorney’s fees;
15                        7. For the Plaintiffs’ costs of suit incurred herein;
16                        8. For such additional relief as may be provided for by 29 U.S.C. § 1132;
17                        9. For payment of all amounts owed by Wrightway from the Western Surety
18                Bond; and

19                        10. For such additional relief as this Court may deem just and proper.

20             DATED this 26th day of November 2019.
                                                             CHRISTENSEN JAMES & MARTIN
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